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                                       ORDERED.


   Dated: June 06, 2018




                  UNITED STATES BANKRUPTCY COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION
                          www.flmb.uscourts.gov
 In re                             )
                                   )
 HOWARD SCOTT BASSUK,              )   Case No. 6:17-bk-04478-KSJ
                                   )   Chapter 7
       Debtor.                     )
                                   )

                                      ORDER SETTING TRIAL

        The trial in the contested matter arising from the Trustee’s Motion to Dismiss Case for

Failure to Attend Sec. 341 Meeting of Creditors and for Failure to Provide Documents Required

under Sec. 521(e)(2)(A) (Document No. 42) will be held on August 1, 2018, at 10:00 a.m. with one

day reserved, before the Honorable Karen S. Jennemann, United States Bankruptcy Judge.

Accordingly, it is

   ORDERED:

         1.      Witness List. The parties shall exchange names and addresses of witnesses within 14

days of the date of entry of this Order.

         2.      Parties shall comply with all requirements of Local Rules 7001-1 and 9070-1. Parties

shall exchange exhibits no later than seven days before the date set for trial.
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                 (a) Objections to Authenticity. Unless written objection to authenticity is filed with the

Court and served by email no later than the close of business on the second business day before trial,

copies of exhibits will be admitted in lieu of the originals.

                 (b) Self-Authentication. If a party intends to rely upon the self-authentication

procedures of Fed. R. Evid. 902(11) or (12) with respect to the introduction into evidence of records

of regularly conducted activities pursuant to Fed. R. Evid. 803(6), the party shall file with the Court

and serve on other parties the written declaration required by Fed. R. Evid. 902(11) or (12) and a copy

of all records sought to be admitted at least 28 days before trial.

         3.      Discovery Cutoff. Parties shall complete discovery no later than seven days before the

trial date except that parties may complete previously scheduled depositions up to the trial date.

         4.      Discovery Disputes. The parties shall first confer in good faith to resolve any

discovery disputes. If unsuccessful, any party may request a telephone conference with the Court so

that the Court may render an informal, preliminary ruling on the discovery dispute, without prejudice

to the right of any party to file a formal motion.

         5.      Meet and Confer Requirement. Counsel for all parties shall confer within seven days

prior to the trial and seek in good faith to settle the case.

         6.      Debtor, Howard Scott Bassuk, is directed to appear and testify.




                                                     ###

The Clerk’s Office is directed to serve a copy of this order on interested parties who are non-CM/ECF

users.
